1                          UNITED STATES DISTRICT COURT

2                       EASTERN DISTRICT OF CALIFORNIA

3

4    UNITED STATES OF AMERICA,            No. 2:13-cr-00267-GEB
5                 Plaintiff,
6        v.                               ORDER
7    FERLANDO CARTER,
8                 Defendant.
9

10             On July 26, 2016, the undersigned judge received an

11   email with an attached forensic evaluation from the Warden of the

12   Federal Medical Center of the Federal Bureau of Prisons, Butner,

13   North Carolina, regarding Defendant Ferlando Carter. The Warden

14   certifies in the email that Ferlando Carter is able to understand

15   the nature and consequences of the proceedings against him and

16   assist properly in his own defense. The email was authored by a

17   medical   secretary     who   states:       “Attached   is    the     forensic

18   evaluation regarding Mr. Carter.         The original will be sent via

19   U.S. mail to Judge Burrell’s chambers.           Copies were not sent to

20   the attorneys on file due the order being SEALED.”

21             The   Clerk    of   the   Court    shall   file    the    referenced

22   forensic evaluation under seal and provide a copy of the email

23   and the forensic evaluation, which is attached thereto, to the

24   government’s attorney and Defendant Ferlando Carter’s attorney.

25             IT IS SO ORDERED.

26             Dated:   July 27, 2016

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